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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 

UNITED STATES OF AMERICA,
Plaintiff,
DECISION AND ORDER
AND REPORT AND
v. RECOMMENDATION
l7-cr-6016-CJS-JWF
17-cr-6017-CJS-JWF
RICHARD LEON WILBERN,
Defendant.

 

Preliminary Statement and Procedural History

Presently before the Court are Richard Leon Wilbern's (“the
defendant” or “Wilbern”) pre-trial motions. On January 24, 2017,
a federal grand jury returned two indictments against the
defendant, each appearing in a separate criminal action against
the defendant. The first indictment charges Wilbern with being a
felon in possession of a firearm in violation of 18 U.S.C.
§§ 922(g)(1) and 924(a)(2). l7-cr-6016, Docket # 6. The second
indictment charges Wilbern with credit union robbery in violation
of 18 U.S.C. § 2113(a), (e) and with murder with a firearm in
furtherance of a czime of violence in violation of 18 U.S.C.
§§ 924(c)(1)(A)(iii) and 924(j)(1). 17-cr-6017, Docket # 15.

The defendant filed numerous pre-trial motions as reflected

in the following chart:l

 

1 By Order of Hon. Charles J. Siragusa, United States District Judge, dated
January 24, 2017, all pretrial matters in this case have been referred to the
Court pursuant to 28 U.S.C. §§ 636(b)(l)(A)-(B). §§§ l7-cr~6016, Docket # 7;
l7-cr-6017, Docket # 16.

 

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Document Name 17-cr-6016 17-cr-6017
Indictment _H_hm _roket # 6 Docket # 15
l'Motion for Docket # 25 Docket # 39

Disclosure of Pre-
trial Material

 

 

 

 

 

Motion for Timely Docket # 76

Disclosure of

Conflicts

Motion to Dismiss Docket # 77

Count 2

Motion to Change Docket # 78

Venue

Motion to Suppress Docket # 60 Docket # 80

Evidence (DNA) (Franks) (Franks;
statements and
DNA sample)

Motion to Exclude Docket # 81

Evidence and for
Daubert Hearing

 

Motion for Brady Docket # 82
Disclosure and
Suppression of ID
Evidence

Motion to Suppress Docket # 74 Docket # 103
Evidence (jail
calls)

 

 

 

 

 

 

Oral argument was held on these several motions on October
23, 2018 and January 22, 2019. At the oral argument, the Court
resolved several of the pending motions and the Court now confirms
the dispositions on those motions announced from the bench. The
defendant/s motion to Disclose Conflicts (l7-cr-6017, Docket # 76)
is granted to the extent the government has not already inquired
as to whether any of its intended witnesses will present a conflict
for the defense. The defendant’s motion to change venue (17-cr-
6017, Docket # 78) is deferred to the trial judge and is therefore

denied without prejudice to renew before Judge Siragusa. Because

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the trial judge will also address the motion to Exclude Evidence
and Order a Daubert hearing (l7-cr-60l7, Docket # 81), as a motion
in limine, that motion is likewise denied without prejudice to
renew before Judge Siragusa.

The Court reserved decision on the defendant's remaining
motions pending further briefing by the parties. After reviewing
the supplemental briefing, the following is my Report and
Recommendation as to the defendant's remaining motions.

Relevant Facts

According to the criminal complaint, on August 12, 2003, an
armed robbery and homicide occurred at the Xerox Federal Credit
Union (“XFCU”) in Webster, New York. §ee Compl. (17-cr-6017,
Docket # l) at 2. The complaint alleges that Wilbern entered the
XFCU around 9:45 a.m. dressed in a jacket bearing “FBI” on the
front and back and carrying a briefcase and a “green and gray
colored umbrella.” ;§; at 3-4. He also wore a U.S. Marshals badge
around his neck. §d; After entering the XFCU, the defendant sat
at a desk inside the cubicle of a female employee and placed an
umbrella atop her desk. §d; at 4. He insisted that he was there
to conduct a security assessment and to stage a robbery. §d;
Wilbern then took one handgun and one sawed-off shotgun or sawed-
off rifle out of his briefcase as well as a bag which he told the
employee to fill with money. §d; The employee complied with his

demand. Id.

 

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The complaint alleges that Wilbern began to order employees
and customers to lay down on the floor. Around this time, customer
Raymond Batzel (“Batzel”) had a verbal altercation with Wilbern
and Wilbern shot him in the neck. §d; Batzel later died of his
injuries. §d; Another customer who entered the XFCU while the
crime was occurring and witnessed Batzel get shot tried to flee
and was shot in the back. §d; at 4-5. He was treated for his
injuries and survived. ;§; at 5. Wilbern directed XFCU employees

to fill a bag with money while holding a firearm in the air. Id.

He then left the XFCU without the umbrella. Id. The umbrella was
recovered by law enforcement and placed into evidence. ld;

Years later, following a press conference held on March 21,
2016 to elicit additional leads in the stale investigation, a
citizen contacted the FBI with information relevant to the
investigation. ;d; at 6. The citizen, who had worked with Wilbern
when he was an XFCU employee, identified Wilbern as a potential
suspect. Ld; Wilbern had been terminated from employment and
filed a Title VII employment discrimination lawsuit in the Western
District of New York against XFCU that was ultimately dismissed.
§d;_ at 6-8. The citizen. also knew that the defendant's son
attended high school in Fairport, New York. ld; Law enforcement

was able to confirm the information the citizen provided. Id.

 

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After the credit union robbery, the umbrella the defendant
left behind was eventually swabbed for DNA samples.2 §d; at 10.
The defendant was arrested on September 27, 2016 (17-cr-6017,
Docket # 7) and indicted on January 24, 2017 (l7-cr-6016, Docket
# 6; 17-cr-6017, Docket # 15). These several pending motions were
filed between July 31, 2018 and January 3, 2019.
Discussion

Motion to Dismiss Count 2 of the Indictment
(l7-cr-6017, Docket # 77)

The second count of the Indictment accuses Wilbern of killing
Raymond Batzel with a firearm in furtherance of a crime of violence
in violation of 18 U.S.C. § 924(c)(1)(A)(iii), (j)(l). Wilbern
moves to dismiss this count of the Indictment on the grounds that i
that the crime of violence alleged in the Indictment, that is bank
robbery in violation of 18 U.S.C. §§ 2213(a) and (e), does not
qualify as a crime of violence under the Armed Career Criminal Act
(“ACCA”) and that the residual clause is unconstitutionally vague.
l7-cr-60l7, Docket # 77, at 3-4.

A “crime of violence” for purposes of 18 U.S.C.
§ 924(c)(l)(A)(iii) is defined as a felony level offense that:

(A) has as an element the use, attempted use, or

threatened use of physical force against the person or
property of another, or

 

2 See below for discussion of the DNA evidence.

 

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(B) that by its nature, involves a substantial risk that

physical force against the person or property of another

may be used in the course of committing the offense.

18 U.S.C. § 924(c)(3) (emphasis added).

Thus, there are two distinct ways a crime can. meet the
definitional requirements of § 924(c)(1)(A)(iii). Subsection (A),
known as the “elements” or “use of force” clause, focuses on the
elements of the underlying criminal offense and whether that crime
“has as an element the use, attempted use, or threatened use of
physical force.” Subsection (B), known as the “residual clause”
or the “risk of force” clause looks not to the elements of the
underlying offense, but rather to the specific conduct involved in
committing the charged offense. That is, did the specific conduct
of the defendant “by its nature” involve a “substantial risk that
physical force” might be used in committing the offense?

In evaluating this claim, the Court need not and will not
engage in an extensive analysis of the “void for vagueness”
arguments emanating from recent Supreme Court cases discussing
whether various definitional language regarding “crimes of

violence” pass constitutional muster. See Sessions v. Dimaya, 138

S. Ct. 1204 (2018); JOhnSOn V. United States, 135 S. Ct. 2551

 

(2015). Suffice it to say that since Johnson and Dimaya, the
Second Circuit has issued decisions binding on this Court which
compel my recommendation that the defendant's motion to dismiss

Count 2 be denied.

 

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As to subsection (A), last week the Second Circuit held that
a credit union robbery, whether committed by force, violence, or
intimidation in violation of 18 U.S.C. § 2113(a) categorically
constitutes a predicate “crime of violence” under the “use of force

clause.” United States v. Hendricks, No. 15-2525-cr, 2019 WL

 

1560582, at *5 (2d Cir. Apr. 11, 2019) (“We thus have little
difficulty' in holding that bank robbery committed ‘by
intimidation' categorically constitutes a crime of violence for
lthe purposes of § 924(c)(1)(A), and, therefore, that Robert's
conviction for using a firearm during a crime of violence under
§ 924(c)(1)(A)(ii) does not constitute error, much less ‘plain
error.'"). 1 believe Hendricks effectively forecloses any defense
argument that a violation of 18 U.S.C. § 2113(a) is not a crime of
violence under any of the punishment provisions of § 924(c)(1)(A).3

As to subsection (B), based on the Second Circuit's decision

in United States v. Barrett, 903 F.3d 166 (2d Cir. 2018), I am

 

compelled to similarly recommend denial of the defendant's motion
to dismiss Count 2. In Barrett, the Second Circuit held that even

if a charged crime - in Barrett, the crime at issue was Hobbs Act

 

§ Wilbern is charged with violating § 2113(a) and § 2113(e). Section 2113(e)
provides for “enhanced penalties” for a bank robbery conviction under § 2113(a)
where the bank robbery also involves aggravated conduct such as kidnapping or
murder. Whitfield v. United States, 135 S. Ct. 785, 787 (2015). Wilbern argues
that § 2113(e) itself does not qualify as a “crime of violence” as defined in
§ 924(c)(3). §§e Docket # 77, at 15. To the extent that argument survives
Hendricks, it can.be addressed by the use of the special interrogatory procedure
endorsed by the Second Circuit in United States v. Barrett, 903 F.3d 166, 182
(2d Cir. 2018).

 

 

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conspiracy - was not a crime of violence when evaluated on a
traditional categorical application of subsections (A) or (B) of
§ 924(c)(3), a “conduct specific” approach to the crime of violence
analysis would avoid the “constitutional concerns identified in
Dimaya and Johnson.” Id. at 178.

Section 924(c)(3)(B) can be applied to a defendant's

case-specific conduct, with a jury making the requisite

findings about the nature of the predicate offense and

the attending risk of physical force being used in its

commission. Such a conduct-specific approach avoids both

the Sixth Amendment right-to-trial and due process

vagueness concerns identified in Dimaya and Johnson.
Id.4 In other words, by using special interrogatories that require
the jury to make a crime of violence factual determination based
on the defendant's “real world conduct,” the trial judge will be
able to protect Wilbern from “not only the constitutional vagueness
concerns that Dimaya and Johnson 'located in the categorical
ordinary-case standard, but also the Sixth Amendment right-to-
trial concern that originally prompted the Supreme Court to mandate

a categorical approach to residual definitions of crimes of

violencef' Id. at 179.5 lt would be up to Judge Siragusa to

 

4 In its recent decision in Hendricks, the Second Circuit declined to consider
whether bank robbery by “intimidation” categorically constituted a crime of
violence within the meaning of § 924(c)(3)(B). 2019 WL 1560582, at *5 n.36.
Because the government has represented to this Court that, pursuant to Barrett's
“conduct specific” approach, it will ask Judge Siragusa to utilize special
interrogatories in reaching any verdict under § 924(c)(3)(B), this Court need
not opine on that issue either.

5 During oral argument, Wilbern’s counsel argued that Barrett was “wrongly
decided.” See 17-cr-6017, Docket # 99, at 21. To the extent the defendant
needs to preserve the issue, that has been accomplished.

 

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determine the appropriate definitional language that would be used
in the special interrogatory procedure adopted in Barrett, See,

€.g., United States V. Pirk, NO. 1:15-CR-00142 EAW, 2019 WL 101808,

 

at *8 (W.D.N.Y. Jan. 4, 2019).
For the above reasons, it is my Report and Recommendation
that Wilbern's motion to dismiss Count 2 of the Indictment in 17-

cr-6017 be denied.

Motion to Suppress Evidence and for Franks Hearing on the Basis

that Affidavit in Support of Search Warrant for 23 Tubman Way

was Based on Misleading Statements and Material Omissions (l7-
cr-6016, Docket # 60; 17-cr-6017, Docket # 80)

The defendant claims that the affidavit of FBI Task Force
Officer Andrew Jasie (“Jasie”) in support of an application to
search 23 Tubman Way6 was misleading and contained material
omissions and that, as a result, the Court should hold a Franks
hearing and suppress evidence obtained pursuant to the warrant.
Def.'s Mot. to Suppress and for grank§ Hr'g, 17-cr-6016, Docket #
60; 17-cr-6017, Docket # 80 (“Franks Mot.”). In his supporting
affidavit, Jasie set forth the basis for probable cause to believe
that Wilbern robbed the XFCU in 2003. Jasie averred that Wilbern

met the physical description of the perpetrator, had accounts at

the XFCU, had a series of convictions for other armed bank

 

‘ This location is identified in the defendant's moving papers as “72 Tubman
Way” and “27 Tubman Way.” The defendant asserts that he had an expectation of
privacy at this location.

 

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robberies and gun crimes, and that shortly after the crime,
Wilbern's son was truant from school for a period of time. In
addition, the affidavit laid out a tip from a concerned citizen
identifying a disgruntled former Xerox employee, Wilbern, as the
perpetrator. Jasie claimed that the perpetrator left an umbrella
at the XFCU, which was swabbed and then tested for traces of DNA.
The first test, completed shortly after the crime was committed,
did not yield sufficient traces of DNA to develop a DNA profile.
The second test was completed from a separate swab sent to
the New York City Office of the Chief Medical Examiner (“OCME”)
and conducted years later, in 2011. OCME used a technique called
High Sensitivity or Low Copy Number DNA (“LCN DNA”) testing, which
enables testing to be performed, as here, on trace amounts of
evidence. OCME performed tests on two swabs from the umbrella:
one from the closure wrap around and one from the latch mechanism.
Franks Mot., Exs. at 30. The LCN DNA testing performed on the
wrap around revealed DNA from at least two people, but concluded
that one male was the major contributor: Male Donor A. According
to Jasie, “[t]he DNA profile of Male Donor A was a full profile.
That DNA profile would be expected to be found in only 1 in 6.80
trillion people.” Ld; at 31. The LCN DNA testing performed on
the latch. mechanism resulted in 51 DNA. profile that would. be
expected to be found in only 1 in 138 million people. ld;_ Despite

having a prior conviction, Wilbern never provided a DNA sample for

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law enforcement to compare to the DNA samples taken from the
umbrella. 1§;

According to the affidavit supporting the search warrant,
Wilbern called the FBI Public Access Line five times between July
14, 2015 and April 14, 2016. ld; at 32. In the calls, Wilbern
claimed to be a victim of a suspected real estate scam involving
his property located at 766 Hudson Avenue, Rochester, NY. ld;
FBI agents contacted_ Wilbern using the cell phone number he
provided and Wilbern voluntarily agreed to come to the FBI Office
in Rochester on July 7, 2016 to discuss the facts of the alleged
fraud case. 1§; Wilbern returned to the FBI Offices on July 19,
2016. During this meeting, agents asked the defendant to sign
paperwork and put documents in an envelope, which he sealed by
licking the envelope, §d; Law enforcement immediately sent this
envelope to OCME for DNA testing and comparison to the sample
tested in 2011. §d; OCME determined that the sample taken from
the envelope positively matched the DNA profile of Male Donor A
found on the umbrella wrap around and the DNA profile found on the
umbrella latch. ;d; at 33.

The defendant argues that Jasie’s affidavit omits critical
information about the LCN DNA testing procedure, requiring that
the Court hold a Franks hearing. He claims that Jasie “vouched”

for LCN DNA testing and “sent the clear message . . . that LCN DNA

testing was every bit as reliable as traditional, gold standard

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DNA testing,” despite reports and information that indicate it may
be more unreliable. Franks Mot. at 9.

In response, the government argues that Wilbern “concoct[s]
an argument to make it fit within the Franks context” by claiming
that Jasie “vouched” for the reliability of LCN DNA testing and
procedure, when in reality, Jasie was not formulating an opinion
about the probity of LCN DNA testing but was simply reporting the
facts as he knew them. Gov’t's Resp., 17-cr-6017, Docket # 84, at
46. “TFO Jasie didn't intentionally mislead the court, nor did he
‘vouch' for anything - he merely repeated the scientific
information which was provided by the OCME laboratory through the
production of their case reports ” 17-cr-6017, Docket # 84, at
47. According to the government, Jasie simply relayed scientific
results and conclusions provided to him “by a reputable laboratory,
results he believed, in good faith, to be accurate.” 17-cr-6017,
Docket # 84, at 48-49.

The affiant's intent to mislead is a critical part of the
Franks analysis. The Second Circuit has instructed that:

To be entitled to a Franks hearing, a defendant must

make a ‘substantial preliminary showing' that: (1) the

claimed inaccuracies or omissions are the result of the

affiant's deliberate falsehood or reckless disregard for

the truth; and (2) the alleged falsehoods or omissions

were necessary to the judge's probable cause finding.

If, after setting aside the allegedly misleading

statements or omissions, the affidavit, nonetheless,

presents sufficient information to support a finding of

probable cause, the district court need not conduct a
Franks hearing.

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United States v. Salameh, 152 F.3d 88, 113 (2d Cir. 1998) (internal

 

citations omitted); see also United States v. Canfield, 212 F.3d
713, 717 (2d Cir. 2000) (applying this standard to conclude that
the corrected affidavit supported probable cause).

Here, Wilbern has made an insufficient showing that the
claimed inaccuracies or omissions were the result of Jasie's
deliberate falsehood or reckless disregard for the truth. Indeed,
Wilbern has not put forth any evidence that Jasie knew or should
have known that LCN DNA was not reliable, at least partially
because it is not at all clear that LCN DNA evidence is in fact
unreliable, as the defendant contends. See United States v.
Morgan, 53 F. Supp. 3d 732, 741 (S.D.N.Y. 2014) (finding, under
Federal Rule of Evidence 702 and Daubert, that OCME LCN DNA test
results were reliable). But see People v. Collins, 49 Misc. 3d
595, 628-29 (Sup. Ct. Kings Cty. 2015) (concluding that, at the
time, LCN DNA testing was not reliable under New York's more
stringent §rye test). Indeed, the defendant has not explained
why, if LCN DNA testing is unreliable, it resulted in a complete
match to the defendant's envelope sample. Nor has the defendant
made a “substantial preliminary showing” that, even. if it is
unreliable, Jasie knew or should. have known as much when he

submitted his affidavit.

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In United States v. Lonardo, this court addressed whether a

 

Franks hearing was required where an affidavit submitted in support
of a search warrant failed to include “conflicting views of the
utility' of thermal imaging in detecting marijuana grow
operations,” technology upon which the articulated probable cause
was based. No. 10-cr-6226, 2012 WL 3685958, at *5 (W.D.N.Y. June
27, 2012). In Lonardo, this Court found that the affiant was not
“required to question or conduct an independent evaluation of
[the] factual findings and expert opinion before relying upon”
the results when applying for the search warrant. ;d; Nor was
the affiant “required to independently determine whether thermal
imaging was ‘junk science' before submitting the search warrant
application.” §d; Like the affiant in Lonardo, Jasie was not
required to question the utility or precision of LCN DNA testing,
Nor was Jasie required to independently investigate or opine on
the science underlying such testing,
Even assuming arguendo that Jasie recklessly omitted material
information from the affidavit, the omission was “inconsequential

to the finding of probable cause,” and therefore a Franks hearing

is not necessary. United States v. Longo, 70 F. Supp. 2d 225, 254

 

(W.D.N.Y. 1999) (where alleged misrepresentations and omissions in
the supporting affidavit were “inconsequential to the finding of
probable cause,” Franks hearing unnecessary). That LCN DNA testing

may have some features that some may find unreliable does not by

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itself change the existence of probable cause here, Probable cause

does not mean complete certainty. United States v. Benedict, 104

 

F. Supp. 2d 175, 181 (W.D.N.Y. 2000) (“A finding of probable cause
is based on probabilities, and need not rise to the level of a
virtual certainty.”). Accordingly, Jasie's alleged omissions with
respect to the apparent unreliability of LCN DNA testing do not
require a Franks hearing and it is my Report and Recommendation
that the defendant's motion to suppress and for a Franks hearing

(17-cr-6016, Docket # 60; 17-cr-6017, Docket # 80) be denied.

Motion to Suppress Statements and DNA Sample
(17-cr-6017, Docket # 80)

 

The defendant next asks that the statements he made at FBI
offices be suppressed because they were involuntarily made and
that the DNA sample the defendant produced to the FBI be suppressed
because it was obtained by deception and “trickery.” 17-cr-6017,
Docket ii 80, at 14-15. Wilbern contends that the government
invited him to FBI offices where they obtained statements and asked
him to lick an envelope, leaving behind his DNA for the FBI to
compare against samples left at the XFCU.

The government concedes that Wilbern was invited to FBI
offices “in large part to fully identify him, his personal vehicle
and to potentially obtain a DNA sample for comparison against the

known sample developed in 2011.” 17-cr-6017, Docket # 84, at 53.

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However, the government contends that it was the defendant who
first contacted the FBI and that he voluntarily came to the FBI
offices and was never coerced into appearing or providing any
statements. I agree with the government.

Statements: With respect to Wilbern's statements at the FBI
offices on July 7 and 19, 2016 and September 27, 2016, there is no
evidence that the defendant was in custody at the time he made the
statements or that the statements were in any way involuntarily
made or coerced.

“A [custodial statement] is admissible under the Constitution
only if it is made voluntarily.” United States v. Orlandez-Gamboa,
320 F.3d 328, 332 (2d Cir. 2003). Accordingly, in addition to
establishing that the defendant knowingly and voluntarily waived
his Miranda rights, “the government must also establish that the
defendant's statements were not made involuntarily within the

meaning of the Due Process Clause.” United States v. Tuttle, No.

 

13-CR-6109-FPG, 2014 WL 3695475, at *12 (W.D.N.Y. July 24, 2014)

(citing Dickerson. v. United. States, 530 U.S. 428, 433 (2000)

 

(recognizing that there are “two constitutional bases for the
requirement that a confession be voluntary to be admitted into
evidence: the Fifth Amendment right against self-incrimination and
the Due Process Clause of the Fourteenth Amendment.”)).

“When, as here, a defendant seeks to suppress non-custodial

statements made to law enforcement authorities, the single issue

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before the court is whether the statements were voluntary, i.e.,
the ‘product of an essentially free and unconstrained choice by

[their] maker."' United States v. Haak, 884 F.3d 400, 409 (2d

 

Cir. 2018) (quoting Schneckloth v. Bustamonte, 412 U.S. 218, 225,

 

(1973)). In making the voluntariness determination, no single
criterion controls; instead, the Court should consider the
“totality of the circumstances” surrounding the particular

interrogation at issue, Arizona v. Fulminante, 499 U.S. 279, 286

 

(1991). “Relevant factors that should be considered include the
accused's age, his lack of education or low intelligence, the
failure to give Miranda warnings, the length of detention, the
nature of the interrogation, and any use of physical punishment.”

Campaneria v. Reid, 891 F.2d 1014, 1020 (2d Cir. 1989), cert.

 

denied, 499 U.S. 949 (1991); see also Green v. Scully, 850 F.2d
894, 901-02 (2d Cir. 1988) (“In applying the totality of the
circumstances test, those factors that a court should consider to
determine whether an accused's confession is voluntary center
around three sets of circumstances: (1) the characteristics of the
accused, (2) the conditions of interrogation, and (3) the conduct
of law enforcement officials ”), cert. denied, 488 U.S. 945 (1988).
In short, “[a] confession is not voluntary when obtained under
circumstances that overbear the defendant's will at the time it is

given ” United States v. Anderson, 929 F.2d 96, 99 (2d Cir. 1991);

 

see also Colorado v. Connelly, 479 U.S. 157, 167 (1986)

 

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(“[C]oercive police activity is a necessary' predicate to the
finding that a confession is not ‘voluntary' within the meaning of
the Due Process Clause of the Fourteenth Amendment.”). “[T]races
of . . . brutality, psychological duress, threats, or 'unduly
prolonged interrogation,” for example, give rise to a finding of

involuntariness. United States v. Moore, 670 F.3d 222, 233 (2d

 

Cir. 2012) (internal quotations and alterations omitted).

None of Wilbern's statements at the FBI offices were custodial
because he sought out a meeting with the FBI, came willingly to
the FBI offices, was never told he was under arrest, and left

freely. See Oregon v. Mathiason, 429 U.S. 492, 495 (1977) (finding

 

that suspect was not in custody when he “came voluntarily to the
police station, where he was immediately informed that he was not
under arrest. At the close of a 1/2-hour interview respondent did
in fact leave the police station without hinderance”); §§ak, 884
F.3d at 402 (noting that parties agreed that defendant was “never
in custody” when police asked him to come to police station, he
voluntarily did so, and left approximately 40 minutes later).
Moreover, the totality of the circumstances makes clear that
the defendant's statements were not coerced and his will was not
overborne. Again, it was Wilbern who initiated contact with the
FBI and thereafter he voluntarily accepted multiple invitations to
speak to the agents. Wilbern claims that his statements were

involuntaryA because they' were elicited. under false pretenses,

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i e., under the assumption that the FBI would help investigate a
fraud he alleged was committed against him, However, under the
facts presented here, this argument is not particularly
persuasive. The Fifth Amendment forbids “affirmative
misrepresentations by the police#’ Anderson, 929 F.2d at 100
(finding' that police statements during custodial interrogation
that defendant would lose ability to cooperate may have created a
false sense that defendant must confess at that moment or forfeit
any future benefit he may derive from cooperating). But “[p]loys
to mislead a suspect or lull him into a false sense of security
that do not rise to the level of compulsion or coercion to speak”
do not render a defendant's statements involuntary. Illinois v.
Perkins, 496 U.S. 292, 297 (1990). In the context of waiving
Miranda rights, the Supreme Court has held that
a valid waiver does not require that an individual be
informed of all information useful in making his
decision or all information that might affect his
decision. to confess. . . . We have never read the
Constitution to require that the police supply a suspect
with a flow of information to help him calibrate his
self-interest in deciding whether to speak or stand by

his rights.

Colorado v. Spring, 479 U.S. 564, 576-77 (1987) (quoting another

 

source) (internal quotations, citations, and alterations omitted).
For example, in United States v. Okwumabua, the Second Circuit
found that law enforcement's failure to inform a defendant that

they were conducting a criminal investigation or that he was a

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target did not render defendant's statement involuntary. 828 F.2d
950, 953-54 (2d Cir. 1987). The Second Circuit concluded that
while the defendant there was not told he was under investigation,
the statements he made were nevertheless “the product of [his]
essentially free and unconstrained choice” and therefore
voluntary, 1§; at 954 (quoting another source).

Like in kaumabua, the fact that law enforcement did not tell
Wilbern that he was under investigation when he voluntarily came
to the FBI's offices to discuss an alleged fraud. perpetrated
against him does not render his subsequent statements involuntary.
That the defendant may have been lulled into a false sense of
security as to why he was being questioned does not negate the
fact that he made a free and unconstrained choice to seek out and
talk to law enforcement.

DNA Sample: The same can be said for law enforcement's
retrieval of a DNA sample from the defendant. The defendant claims
that the FBI obtained the DNA sample by “deception” but never
articulates exactly what law enforcement did to trick the defendant
into providing his DNA. By inviting Wilbern to lick an envelope
and then using that sample to perform a DNA comparison on the
samples collected from the crime scene, law enforcement did not
conduct an illegal search under the Fourth Amendment. 1 agree
with the government's argument that “the defendant voluntarily

relinquished his DNA without any force or compulsion, thus

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abandoning any reasonable expectation of privacy.” 17-cr-6017,
Docket # 84, at 58. There was no trickery or deception in failing
to forewarn the defendant that his DNA could tie him to a crime
under active investigation. Accordingly, obtaining Wilbern's DNA
under these circumstances did not constitute unlawful police

coercion.7 See State v. Athan, 160 Wash. 2d 354, 362 (2007)

 

(finding no Fourth Amendment violation where “detectives, posing
as a fictitious law firm, induced [defendant] to mail a letter to
the firm, from which [defendant]'s DNA sample was extracted”);

People v. LaGuerre, 29 A.D.3d 820, 822 (2d Dep't 2006) (determining

 

that the “police may engage in a ruse” as long as it is not so
coercive as to deny due process, and that police detectives in
that case “did not deprive the defendant of due process when they
obtained a sample of his DNA from a piece of chewing gum he
voluntarily discarded in the course of a contrived Pepsi taste

test challenge”). But see State v. McCord, 833 So. 2d 828, 831

 

(Fla. Dist. Ct. App. 2002) (concluding that defendant's Fourth

Amendment rights had been violated when law enforcement falsely

 

7 While Wilbern may not have known the reason he was sealing the envelope, there
is no question that he did so willingly and without force or coercion. No
threats or promises were made to induce Wilbern to lick the envelope and he
voluntarily left the envelope in the custody of the FBI, thereby relinquishing
any continuing interest in it. “When a person voluntarily abandons property .

. he forfeits any reasonable expectation of privacy that he might have had in
the property.” United States v. Lee, 916 F.2d 814, 818 (2d Cir. 1990). Because
the envelope was abandoned, law enforcement did not act improperly in recovering
the envelope and obtaining the DNA sample. §ee Jones v. Meehan, No. 14 Civ.
6402(KPF), 2018 wL 459662, at *10 (s.D.N.Y. Jan. 16, 2018) (finding no Fourth
Amendment violation in § 1983 action where law enforcement caused plaintiff to
drink from a cup and then retrieved the discarded cup to obtain a DNA sample).

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told him he was a suspect in a rape case so that he would provide
a DNA sample).

Accordingly, it is my Report and Recommendation that
Wilbern's motion to suppress statements and DNA samples (17-cr-
6017, Docket # 80) be denied.

Motion for Brady Disclosure and Suppression of ID Evidence
(17-cr-6017, Docket ## 39, 82)

The defendant again seeks, pursuant to both Federal Rule of
Criminal Procedure 16 and §rady, the disclosure and suppression of
the identities of individuals who positively identified him as a
suspect upon viewing still photographs taken from the bank
surveillance video recorded on the date of the incident, as well
as details about those identification (“ID”) procedures. 17-cr-
6017, Docket # 82. The Court denies Wilbern's motion.

Oral argument was held on the motion for the disclosure of
§rady material (17-cr-6017, Docket # 39) on March 2, 2018 (17-cr-
6017, Docket # 43) which sought the disclosure of, inter alia,
“[i]nformation including documents, scripts and photographs
relating to the questioning of witnesses and display of

surveillance photographs in an effort to obtain identifications of

Richard Wilbern as the perpetrator.” 17-cr-6017, Docket # 39, at
4. The motion was resolved by an order of this Court filed on
March '7, 2018. 17-cr-6017, Docket ii 44. The Court therein

directed. the government to provide to the defense all Brady

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material in its possession as agreed to at the motion hearing no
later than March 9, 2018, and additional Brady material on an on-
going basis as it becomes aware of such information.

The government has already agreed to provide, for those
witnesses that did not positively identify the defendant, the names
of the witnesses; dates, times, and places at which the ID
procedure occurred; the pictures used; and the corresponding law
enforcement reports. 17-cr-6017, Docket # 82, at 5. For those
witnesses that did positively identify the defendant, the
government agreed to provide all of the same information, except
the names or other identifying details of the witnesses, as well
as copies of the relevant police reports redacted to exclude
identifying information. Id. The defense represents that

the only information ultimately provided to the defense

were the seven dates on which four witnesses are alleged

to have made identifications, and a police report

describing only one of those dates for only one of those

witnesses. The government offered no explanation for the
disclosure of details regarding one identification
procedure with one witness while withholding the same
information. about the other three witnesses and six
identification procedures.

Id. at 9.

The government said it “intends to present evidence at trial
from five (5) individuals who will testify that they recognized
the person in the surveillance photographs as the person they know

as Richard Wilbern” and provided the photographs used and the dates

on which the ID occurred. 17-cr-6017, Docket # 84, at 65-66. The

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government alleges that none of these people actually witnessed
the crime, but rather that they are all “personally familiar” with
the defendant. Id. at 65. The government intends to use these
witnesses at trial to make in-court identifications of the
defendant pursuant to Federal Rule of Evidence 701 pertaining to
lay witnesses. Id. at 63. Thus, the government does not contest
the scope of the March 2, 2018 agreement but now represents that
it is not required to disclose the identification procedures it
agreed to provide because Federal Rule of Criminal Procedure 16
does not require the government

to release any Jencks material or 3500 materials

relating to the statements or grand jury testimony

provided by these witnesses, which includes testimony

relative to their overall relationship and consequent

familiarity with the defendant, as well as the timing

and circumstances which led to their recognition of the

defendant. The government has complied with its Brady

obligations by disclosing the names of those individuals

who failed to identify the defendant after viewing the

FBI photographs.

1d. at 66.

Thus, the issue presented here is whether Wilbern is legally
entitled to know the circumstances of the ID procedures prior to
trial. 1 am not convinced that he is. “Absent a direct
confrontation between a defendant and witnesses, such as a lineup,
a defendant cannot know of such pretrial identification procedures
as photographic spreads and surreptitious ‘viewings unless the

Government chooses to tell him.” United States v. Mitchell, 540

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F.2d 1163, 1166 n.3 (3d Cir. 1976); see United States v. Taylor,
707 F`. Supp. 696, 704-05 (S.D.N.Y. 1989) (“[T]he Court
in Mitchell noted that the government was not required to supply
prior to trial the names of any witnesses who had been shown a
photographic spread or who were present at a preliminary hearing
[T]he Mitchell court stated that the government is not
requiredv to disclose to a defendant the nature of pre-trial
identification procedures.”). The photographs the government used
in the pretrial 1D procedures must be disclosed, but the government
represents, and defendant acknowledges, that the photographs shown
to the witnesses have been produced. §e§ Taylor, 707 F. Supp. at
705; 17-cr-6017, Docket # 82, at 4.
Further, the identities of the witnesses who gave a positive
ID are not required to be disclosed prior to the production of the

witness list for trial. United States v. Wei, 862 F. Supp. 1129,

 

1135 (S.D.N.Y. 1994) (“[Defendant's] requests for disclosure of
all parties present, of all parties alleging recognition of him,
the alleged basis for any recognition, and of all parties who did

not recognize him are denied. Those requests would prematurely

disclose the identity of government witnesses ”); Taylor, 707 F.
Supp. at 703 (“Defendant, however, is not entitled to a witness

list. Rule 16 does not require the government to provide such
information.”); see 18 U.S.C. § 3500; Fed. R. Crim. P. 16. Given

that the government has represented that it only intends to use

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the individuals as lay' witnesses pursuant to Federal Rule of
Evidence 701, the question of the admissibility of the in-court 1D
testimony and information flowing from the ID procedures is an
evidentiary question best determined by the trial judge. United
States V. MCGee, No. 99-CR-15OE, 2000 WL 1520957, at *4 n.2
(W.D.N.Y. Oct. 10, 2000) (“1n a pretrial Wade hearing, the trial
judge considers the admissibility of identification testimony.”

(citing United States v. Wade, 388 U.S. 218 (1967))); see Givens

 

V. Burge, NO. 02 CiV. 0842 JSRGWG, 2003 WL 1563775, at *l (S.D.N.Y.
Mar. 4, 2003) (in magistrate judge's report and recommendation,
“the trial judge held. a hearing' pursuant to United States v.
Nad§, 388 U.S. 218 (1967), to determine the admissibility of Reid’s
in-court identification testimony.”).

The defendant's motions for disclosure and suppression (17-
cr-6017, Docket ## 39, 82) are denied with respect to disclosure
of the pretrial identification procedures and witness identities,
so long as the witness identities are properly disclosed in a
witness list prior to trial, and are denied without prejudice to
renew with respect to suppression of that evidence as best made in
a motion in limine before Judge Siragusa. The defendant's motion
for disclosure (17-cr-6017, Docket # 39) is otherwise granted
pursuant to the parties’ agreement at the motion hearing. §ee 17-

cr-6017, Docket # 44.

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Motion to Suppress Jail Phone Calls (17-cr-6016, Docket # 74;
17-cr-6017, Docket # 103)

Citing the First Amendment and the Electronic Communications
Privacy Act, 18 U.S.C. §§ 2510-2522 (“Title 111”), the defendant
moves to suppress recordings of phone calls he placed while in
jail pending his trial on these charges. 17-cr-6016, Docket # 74,
at 7. The government has responded by submitting an affidavit
from Charles W. Facteau (“Facteau”), a systems administrator for
inmate phone services at the Monroe County Jail (“MCJ”), where the
recordings were made. 17-cr-6016, Docket # 79-2. Facteau avers
that MCJ inmates are notified by a sign as well as an audio message
that plays prior to commencing a jail call that their phone
conversations are being recorded. 1§; The government contends
that this notification. constitutes the defendant's consent to
record the calls. Under the circumstances presented here, 1 agree.

“1n general, in the absence of judicial authorization, Title
111 prohibits the intentional interception of telephone calls and
admission at trial of any recordings of unlawfully intercepted

telephone calls ” United States v. Simmons, No. 13-CR-6025CJS,

 

2016 WL 285176, at *24 (W.D.N.Y. Jan. 22, 2016), report and

recommendation adopted, No. 13-CR-6025, 2016 WL 1127802 (W.D.N.Y.

 

Mar. 23, 2016), However, “no violation of Title 111 occurs where
the inmate has consented to the interception.” United States v.

Anderson, No. 10-CR-6128, 2012 WL 3648189, at *4 (W.D.N.Y. May 29,

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2012), report and recommendation adopted, No. 10-CR-6128, 2012 WL

 

3648142 (W.D.N.Y. Aug. 23, 2012). The same goes for the
defendant's First Amendment claim. The defendant retains some
constitutional rights, including a “right to communicate with
people outside the prison walls” under the First Amendment.
Simmons, 2016 WL 285176, at *24 (quoting United States v. Colbert,
No. 08-411, 2011 WL 3360112, at *8 (W.D. Pa. Aug. 3, 2011)). Yet
that right is not extended when a defendant has consented to the
recording. §e§ Simmons, 2016 WL 285176, at *25 (“[Defendant]
received clear notice at each of the facilities that his telephone
calls could or would be monitored or recorded, and his decision to
initiate telephone calls despite that notice establishes his
implied consent to the recording and monitoring of his telephone
calls.”).

Courts have acknowledged that “[s]uch consent may be express
or implied_ through evidence that an inmate was notified that
telephone calls were subject to monitoring or recording.” 1§; at
*24. “[I]nmates impliedly consent to have their telephone
conversations monitored where they have received notice of the
surveillance and nevertheless use the prison telephones.” United

States v. Workman, 80 F.3d 688, 693 (2d Cir. 1996), cert. denied

 

sub nom. Rodgers v. United States, 519 U.S. 938 (1996).
Here, the government has produced an unrebutted affidavit

from Facteau representing that at the commencement of every call,

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there is a verbal warning to both parties that the call may be
recorded or monitored by jail officials. 17-cr-6016, Docket # 79-
2, at 11 3-4. 1n addition, each inmate phone contains a placard
that reads in bold, black capital letters “ALL CALLS ARE SUBJECT
TO MONITORING AND RECORDING.” Ld. at 11 2. AS this Court noted
when addressing nearly the identical situation at the MCJ, “[s]uch
notifications, when part of an established jail policy of which
the inmate is aware, is sufficient to support a finding that the
inmate impliedly consented to having his calls recorded.”
Anderson, 2012 WL 3648189, at *4. Because the record here
establishes that the jail provided the defendant with verbal and
written notice that his telephone calls were subject to recording
and monitoring, there is no statutory or First Amendment violation
requiring the suppression of the calls, 1§;; see Simmons, 2016 WL
285176, at *24-25 (citing cases and finding no Article 111, First,
Fourth, or Fifth Amendment violation where, like here, automated
verbal notice and written notice was provided to inmates); Colbert,
2011 WL 3360112, at *8-9 (finding no violation of First, Fourth,
Fifth, or Fourteenth Amendment). 1t is therefore my Report and
Recommendation that the defendant's motion to suppress jail call

recordings (17-cr-6016, Docket # 74; 17-cr-6017, Docket # 103) be

denied.

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Conclusion

For the foregoing reasons, defendants' motions are decided as

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

follows:

Document Name 17-cr-6016 17-cr-6017 Disposition
Motion for Docket # Docket # 39 Granted in
Disclosure of Pre- 25 part and
trial Material denied in part
Motion for Timely Docket # 76 Granted
Disclosure of
Conflicts
Motion to Dismiss Docket # 77 Recommend deny
Count 2
Motion to Change Docket # 78 Denied without
Venue prejudice to

renew
Motion to Suppress Docket # Docket # 80 Recommend deny
Evidence (DNA) 60 (Franks;
(Franks) statements and
DNA sample)
Motion to Exclude Docket # 81 Denied without
Evidence and for prejudice to
Daubert Hearing renew
Motion for Brady Docket # 82 Denied in part
Disclosure and and denied
Suppression of ID without
Evidence prejudice to
renew in part
Motion to Suppress Docket # Docket # 103 Recommend deny
Evidence (jail 74
calls)
SO ORDERED.
/s/ Jonathan W. Feldman
JONATHAN W. FELDMAN
United States Magistrate Judge
Dated: April 19, 2019
Rochester, New York

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Pursuant to 28 U.S.C. § 636(b)(1), it is hereby

ORDERED, that this Report and Recommendation be filed with
the Clerk of the Court.

ANY OBJECTIONS to this Report and Recommendation must be filed
with the Clerk of this Court within fourteen (14) days after
receipt of a copy of this Report and Recommendation in accordance
with the above statute and Rule 59(b)(2) of the Local Rules of
Criminal Procedure for the Western District of New York.1

The district court will ordinarily refuse to consider on de
novo review arguments, case law and/or evidentiary material which
could have been, but was not, presented to the magistrate judge in
the first instance. See, e.g , Paterson-Leitch Co., Inc. v. Mass.
Mun. Wholesale Elec. Co., 840 F.2d 985 (1st Cir. 1988).

Failure to file objections within the specified time or to
request an extension of such time waives the right to appeal the
District Court’s Order. Thomas v. Arn, 474 U.S. 140 (1985);
Wesolek v. Canadair Ltd., 838 F.2d 55 (2d Cir. 1988).

The parties are reminded that, pursuant to Rule 59(b)(2) of
the Local Rules of Criminal Procedure for the Western District of
New York, “[w]ritten objections . . . shall specifically identify
the portions of the proposed findings and recommendations to which
objection is made and the basis for each objection, and shall be
supported by legal authority.” Failure to comply with the
provisions of Rule 59(b)(2) may result in the District Court’s
refusal to consider the objection.

 

 

Let the Clerk send a copy of this Order and a copy of the
Report and Recommendation to the attorneys for the Plaintiff and
the Defendant.

 

SO ORDERED.
/s/ Jonathan W. Feldman
Jonathan W. Feldman
United States Magistrate Judge
Dated: April 19, 2019

Rochester, New York

 

1 Counsel is advised that a new period of excludable time pursuant to 18 U.S.C.
§ 3161(h)(1)(D) commences with the filing of this Report and Recommendation.
Such period of excludable delay lasts only until objections to this Report and
Recommendation are filed or until the fourteen days allowed for filing
objections has elapsed. United States v. Andress, 943 F.2d 622 (6th Cir. 1991),
cert. denied, 502 U.S. 1103 (1992); United States v. Long, 900 F.2d 1270 (8th
Cir. 1990).

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